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7                                               UNITED STATES DISTRICT COURT
8                                            SOUTHERN DISTRICT OF CALIFORNIA
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10    IN RE: QUALCOMM LITIGATION                                  Case No.: 3:17-cv-108-GPC-MDD
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                                                                  ORDER DENYING AS MOOT:
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                                                                  1) APPLE’S MOTION FOR
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                                                                  PARTIAL SUMMARY JUDGMENT
14                                                                THAT CERTAIN PATENTS ARE
                                                                  UNENFORCEABLE DUE TO
15
                                                                  EXHAUSTION (COUNT LIX OF
16                                                                APPLE’S AMENDED COMPLAINT
                                                                  AND COUNT LXVII OF THE CMS’
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                                                                  COUNTERCLAIMS); AND
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                                                                  2) APPLE’S EX PARTE
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                                                                  APPLICATION TO SUPPLEMENT
20                                                                MOTION FOR PARTIAL
                                                                  SUMMARY JUDGMENT
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22                                                                [ECF Nos. 600 & 661]
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                Before the Court is Apple’s Motion for Partial Summary Judgment on Count LIX1
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     of its First Amended Complaint (“FAC”) and Count LXVII of the Contract
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       Apple captioned its motion as moving for summary judgment on “Count LIV,” but it is Count LIX that
     seeks a declaration of unenforceability due to exhaustion. FAC, ECF No. 83 at 134. The Court will
28   therefore assume that Apple’s motion requests summary judgment on Count LIX.

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1    Manufacturers’ (“CMs”) Counterclaims. ECF No. 600. Apple has also filed an Ex Parte
2    Application to Supplement the Motion for Partial Summary Judgment. ECF No. 661. In
3    Count LIX of Apple’s FAC, Apple contends that under the doctrine of patent exhaustion,
4    Qualcomm’s sale of chipsets exhausts Qualcomm’s patent rights to all patents
5    substantially embodied in those chipsets. FAC, ECF No. 83 ¶ 578. Accordingly,
6          Apple requests a judicial declaration that the sale of Qualcomm’s baseband
           processor chipsets to Apple’s CMs exhausts Qualcomm’s patent rights for
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           patents substantially embodied in those chipsets, and that any of the Patents-
8          in-Suit, which are actually essential to any Apple-practiced 3G/UMTS
           and/or 4G/LTE standard and infringed by Apple, are unenforceable as
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           against Apple due to patent exhaustion.
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     Id. ¶ 592.
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           The CMs brought a similar declaratory judgment claim regarding exhaustion. CM
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     Counterclaim, 3:17-cv-1010, ECF No. 84 at 244-47. On August 31, 2018, Apple and the
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     CMs filed the Motion for Partial Summary Judgment, requesting the Court grant
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     summary judgment that Qualcomm’s patent rights to three specific patents are exhausted
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     by Qualcomm’s authorized sale of chipsets to the CMs. ECF No. 600 at 22. Apple later
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     filed an Ex Parte Application to Supplement the Motion for Partial Summary Judgment
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     that Certain Patents Are Unenforceable Due to Exhaustion. ECF No. 661. Apple sought
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     to file a Supplemental Motion that would address “the exhaustion issue in the context of a
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     new patent that Qualcomm injected into this case.” Id. at 1.
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           On September 14, 2018, Qualcomm moved to dismiss many of Apple’s declaratory
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     judgment claims, including the exhaustion claim. Qualcomm Mot., ECF No. 616.
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     Qualcomm asserted that the Court lacked subject-matter jurisdiction over Count LIX. Id.
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     at 7-8. On November 20, 2018, the Court entered an Order Granting Qualcomm’s
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     Motion for Partial Dismissal. Order, ECF No. 737. The Court found that it did not have
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     jurisdiction over the exhaustion declaratory judgment claims before the Court as it related
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     to the nine patents-in-suit and the 93 SEPs, and dismissed Count LIX of Apple’s FAC
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     and Count LXVII of the CMs’ Counterclaims. Id. at 16.
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1          Because these claims have been dismissed, Apple’s Motion for Summary
2    Judgment on such claims is moot, and the application to supplement that motion is thus
3    moot as well. Accordingly, the Court orders as follows:
4          1)    Apple and the CMs’ Motion for Partial Summary Judgment that Certain
5                Patents are Unenforceable Due to Exhaustion (Count LIX of Apple’s
6                Amended Complaint and Count LXVII of the CMs’ Counterclaims) is
7                DENIED AS MOOT.
8          2)    Apple’s Ex Parte Application to Supplement the Motion for Partial
9                Summary Judgment that Certain Patents are Unenforceable Due to
10               Exhaustion and For a Hearing on that Supplement is DENIED AS MOOT.
11         IT IS SO ORDERED.
12   Dated: December 17, 2018
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